Michael Schwartz

From:                              Michael Schwartz
Sent:                              Monday, October 14, 2019 10:35 AM
To:                                'Lang, Robert H.'
Cc:                                'Dan Childers'; Brandon Schwartz; Jessie Revalee
Subject:                           RE: VeroBiue/Cassels Brock



Counsel

Plaintiffs/Debtors have not timely responded to Defendant's Interrogatories.
Pursuant to the rules, all objections have been waived.

Plaintiffs/Debtors have not timely responded to Defendant's Request for Production of Documents.
Pursuant to the rules, all objections have been waived.

If full and complete answers to interrogatories, without objections,
are not received by close of business today,
a motion to compel will be filed.

If full and complete responses to request for production of documents,
without objections,
are not received by close of business today,
a motion to compel will be filed.

I note that while Plaintiffs/Debtors did not find time to fulfill their discovery obligations,
they did find time to
serve 27 interrogatories,
serve 27 request for production of documents,
serve 48 request for admissions,
serve 10 subpoenas without consulting with opposing counsel regarding available dates, and
serve to notices of deposition without consulting with opposing counsel regarding available dates.

This unprofessional conduct is not in keeping with the professionalism I have experienced
in dealing with other opposing counsel in multiple other cases in Iowa.

Michael D. Schwartz
Schwartz Law Firm
600 Inwood Avenue N.
Suite 130
Oakdale, MN 55128

Phone 651-528-6800
Fax   651-528-6450
Cell   612-810-2996
Email michael@mdspalaw.com
Website schwartz/awfirmpa.com




                                                                                       EXHIBIT_5_
                                                             1
               LIFE MEMBER
               MILUON DOLLAR ADVOCATES fORUM
               MULri·MituON DoLLAR ADVOCATES fORUM
               Tho Top Trial Lawyers lnAmeric::a"'




From: Lang, Robert H. [mailto:RHLang@thompsoncoburn.com]
Sent: Tuesday, October 01, 2019 6:52 PM
To: Michael Schwartz
Cc: 'Dan Childers'
Subject: RE: VeroBiue/Cassels Brock

Counsel-our apologies, but we will need another week or so, to 10110119.


Robert H. Lang
rhlang@thompsoncoburn.com
P: 312.580.2242
F: 312.580.2201
M: 312.489.3025

Thompson Coburn LLP
55 East Monroe Street
37th Floor
Chicago, IL 60603
wvvw. thompsoncoburn .com
From: Lang, Robert H.
Sent: Sunday, September 15, 2019 4:07 PM
To: 'Michael Schwartz' <MSchwartz@mdspalaw.com>
Cc: Dan Childers <dchilders@elderkinpirnie.com>
Subject: VeroBiue/Cassels Brock

Counsel-we need an extension to respond to Defendants' intenogatories and document requests, to October I,
2019. Thank you for your anticipated courtesy.




Robert H. Lang
rhlang@thompsoncoburn.com
P: 312.580.2242
F: 312.580.2201
M: 312.489.3025

Thompson Coburn LLP
55 East Monroe Street
37th Floor
Chicago, IL 60603
wvvw. thompsoncoburn. com

                                                      2
CONFIDENTIALITY 1\JOTE: This message and any a!lacllrnents are from a law firrn. Tl1ey are solely for tile use of t11e intended recipient and may contain
privileged, confidential or other legally protected information. If you are not the intended recipiN1l, please destroy all copies without readinq or disclosinq their
contents and notify the sender of the error by reply e-maiL




                                                                                     3
